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                      IN THE UNITED STATES DISTRICT COU X -                        .,T, ;;I V

                    FOR THE SOUTHERN DISTRICT OF GEORQ
                                                                      L'.


                                    DUBLIN DIVISION

 RICO WADLEY, )

                Petitioner, )

      V. ) CV 304-005
                             (Formerly CR 302-005)
 UNITED STATES OF AMERICA, )

                Respondent .            )



             MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


        Petitioner has filed with this Court a motion to vacate, set aside, or correct his

 sentence pursuant to 28 U.S .C. § 2255 . The Government has filed its response . (Doc . no.

 3) . For the following reasons , the Court REPORTS and RECOMMENDS that Petitioner's

 § 2255 motion be DENIED , that this civil action be CLOSED, and that a final judgment be

 ENTERED in favor of the Government

                                      1. DISCUSSION

 A. Backgroun d

        Pursuant to a negotiated guiltyplea, the Court convicted Petitioner ofpossession with

 intent to distribute cocaine, in violation of 21 U .S .C. § 841, and sentenced him to 151

 months of imprisonment. United States v. Wadley , CR 302-005, doc . no . 320 (S.D. Ga . Feb .

 21, 2003) . Petitioner's plea agreement contained a broad appeal waiver provision, which

 provided:

        [Petitioner] expressly waives any and all rights . . . to appeal any sentence
        imposed that is within the statutory maximums . . . [Petitioner] also expressly
        waives any and all rights to collateral post-conviction attack of the sentence
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          imposed or the voluntariness, providence, or factual basis of the guilty plea
          entered pursuant to this agreement .

 Id., doc . no. 279, pp . 5-6 . The appeal waiver provision also expressly provided that

 Petitioner reserved the right to file a direct appeal only if the Court upwardly departed from

 the sentencing range called for by the Sentencing Guidelines . Id ., doc. no . 278, pp . 5-6 . At

 the Rule 11 hearing, the Court specifically explained the import of the appeal waiver

 provision; Petitioner stated that he understood the provision and wanted to plead guilty . Id .,

 doc. no. 367, pp . 17, 19 (hereinafter "Rule 11 Tr .") . At sentencing, the Court sentenced

 Petitioner to 151 months of imprisonment, well within the statutory maximum and at "the

 bottom of [the] guideline range ." Id., doc . no . 337, p. 30 (hereinafter "Sentencing Tr.").

         Despite the absence of any upward departure and Petitioner's clear appeal waiver,

 Petitioner's retained counsel filed a direct appeal, contending that the Government should

 have filed a motion for downward departure based on Petitioner's substantial assistance . See

 United States v. Wadley, No . 03-11079 (11th Cir . Oct . 31, 2003) . The Eleventh Circuit

 rejected Petitioner's appeal as barred by his valid appeal waiver . See id . Still undeterred by

 the appeal waiver, Petitioner has now filed the instant § 2255 motion, arguing that 1) his plea

 was not knowingly and voluntarily entered ; 2) his counsel should have objected to the

 Court's use of cocaine base in calculating his sentence ; and 3) he received generally

 ineffective assistance of counsel at the Rule 11 hearing and at sentencing. (Doc . no . 1, p . 5) .

 B. Relevant Principles of La w

         A waiver of appealf provision is enforceable if the waiver is knowing and voluntary .

 United States v. Weaver, 275 F.3d 1320, 1333 (11th Cir. 2001) ; United States v . Bushert,


          'By "appeal," the Court here refers to the right to "appeal or contest, directly or collaterally,
 [a] sentence ." Bushert , 997 F .2d at 1345 .

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 997 F .2d 1343, 1350 (1 lth Cir . 1993). "To establish the waiver's validity, the [G]overnment

 must show either that (1) the district court specifically questioned the defendant about the

 provision during the plea colloquy, or (2) it is manifestly clear from the record that the

 defendant fully understood the significance of the waiver ." Weaver , 275 F.3d at 1333 . If the

 Government meets this burden in the instant case, then Petitioner's current claims are barred

 from review .2 See United States v . Pease , 240 F .3d 938, 942 (11th Cir. 2001) (per curiam)

 (enforcing waiver provision where defendant was specifically questioned during plea

 proceedings about waiver) ; United States v . Howle, 166 F .3d 1166, 1168-69 (11th Cir .

 1999) ; United States v. Benitez-Zapata, 131 F .3d 1444, 1146-47 (11th Cir . 1997) .

         That said, the Eleventh Circuit has also explained that even broad appeal waivers like

 Petitioner's cannot prevent collateral attacks "concerning certain subjects" such as ineffective

 assistance of counselor the voluntariness of the plea itself. Bushert , 997 F .2d at 1350 n .17 .

 Of course, any ineffective assist ance of counsel claim that does not relate directly to the

 voluntariness or intelligence of Petitioner's plea is barred by a valid appeal waiver . See

 Williams v. United States , 396 F .3d 1340,1342 (11th Cir . 2005)(per curiam) ; see also Vaca-

 Ortiz v. United States, 320 F . Supp .2d 1362, 1365-66 (N .D. Ga. 2004) . Having summarized

 the applicable legal principles, the Court turns to the merits of Petitioner's § 2255 motion .

 C. Application to the Instant Cas e

         Here, the Government has plainly met its burden under Weaver to demonstrate the

 existence of a valid appeal waiver . The Court specifically questioned Petitioner regardin g



          2To the extent Petitioner's claims can be construed as arising under Appr endi v. New Jersey ,
 530 U .S . 466 (2000) or United States v . Booker , 543 U .S . 220 (2005), the Court notes that "the right
 to appeal a sentence based on Apnrendi /Booker grounds can be waived in a plea agreement . Broad
 waiver language covers these grounds of appeal ." United States v. Rubbo, 396 F .3d 1330, 1335
 (11th Cir .), cert . denied _ U .S. _, 126 S . Ct . 416 (2005) .

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 the appeal waiver during the Rule 11 hearing . Petitioner would have the Court ignore the

 Rule 11 colloquy ; however, "[s]olemn declarations in open court (at the guilty plea hearing)

 carry a strong presumption of verity" and "constitute a formidable barrier in any subsequent

 collateral proceedings ." Blackledge v . Allison, 431 U.S . 63, 74 (1977) . Indeed, the Eleventh

 Circuit itself determined that Petitioner's appeal waiver was "effective" to bar Petitioner's

 direct appeal . United States v Wadley, No. 03-11079, slip op . at 3 (11th Cir . Oct . 21, 2003) .

 Regardless, Petitioner's ineffective assistance of counsel claims fail to call the voluntariness

of his plea or the effectiveness of his appeal waiver into doubt .

         Petitioner alleges that his counsel was ineffective for failing to object to the Court's

 "adopting [an] offense level of 74 .26 grams of cocaine base to impose sentence" or to

 "inform [Petitioner] that cocaine base would be used [to calculate Petitioner's] sentenc e

 based on a guilty plea for cocaine." (Doc . no. 1, p . 12) . This contention is meritless . Both

 Petitioner's signed plea agreement and the Court (at the Rule 11 colloquy) informed

 Petitioner that drugs other than cocaine hydrochloride would be used to calculate his

 sentence. See CR 302-005, doc . no . 278, p . 4; Rule 11 Tr ., p. 32 . Thus, Petitioner's counsel

 had no grounds to object to the. attribution of cocaine base to Petitioner at sentencing .

 Regardless, Petitioner's sentence exposure was driven by his prior criminal history--which

 classified him as a career offender--not the drug quantity found by the Court . See

 Presentence Investigation Report ("PSI") ¶¶ 15, 23 .3 The career offender provisions of the

 Sentencing Guidelines, which take precedence over "otherwise applicable" provisions, see

 U.S .S.G. § 4B1 .1(b), dictated the Court's determination of an overall offense level of 32 ,




         3Petitioner did not object to the PSI . See Sentencing Tr., p. 2.

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 irrespective of the drug quantity attributed to Petitioner . See PSI ¶¶ 15, 23 . Thus, even

 assuming arguendo that Petitioner's counsel neglected to inform him that he could be

 sentenced based upon the quantity of cocaine base , no prejudice inured to Petitioner .

        More generally , Petitioner has identified no reason to conclude that he did not enter

 into his guilty plea, with its appeal waiver , both knowingly and volunta ri ly. Petitioner does

 not allege that he was coerced , or that he did not understand the plea agreement or the cou rt

 proceedings . In sum, Petitioner's § 2255 motion is devoid of merit and should be denied .

                                      II. CONCLUSIO N

        For the reasons set forth above , the Court REPORTS and RECOMMENDS that

 Petitioner 's § 2255 motion be DENIED , that this civil action be CLOSED , and that a final

judgment be ENTERED in favor of the Gove rnment.

         SO REPORTED and RECOMMENDED on thiay of February, 2006, at

 Augusta, Georgia .
